           Case 2:19-cv-00024-SEH Document 65 Filed 07/09/20 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                                 BUTTE DIVISION
NAUTILUS INSURANCE
COMPANY,
                                                  No. CV 19-24-BU-SEH
                             Plaintiff,

 vs.                                              ORDER

EMPLOYERS MUTUAL
CASUALTY COMPANY;
SENTINEL INSURANCE
COMPANY LIMITED; THOSE
CERTAIN UNDERWRITERS OF
LLOYD'S OF LONDON
SUBSCRIBING TO VARIOUS
POLICY NUMBERS; 1 AND, THE
TRAVELERS INDEMNITY
COMPANY OF AMERICA,

                             Defendants.


       Nautilus Insurance Company ("Nautilus"), Employers Mutual Casualty

Company ("EMC"), and The Travelers Indemnity Company of America

("Travelers") have filed a Joint Notice ofSettlement2 stating that all claims of

EMC and Nautilus against Travelers are resolved "and the parties will submit a

stipulation for dismissal of those claims within 30 days." 3


       1
           Policy Numbers N04NZ00790, N05NZ16950, N06NZ16880, and N07NZ18290.
       2
           Doc. 64.
       3
           Doc. 64 at 2.
          Case 2:19-cv-00024-SEH Document 65 Filed 07/09/20 Page 2 of 2



      Fed. R. Civ. P. 4l(a)(2) authorizes a court to dismiss an action, upon

Plaintiffs request, "on terms that the court considers proper." This Court,

however, requires that a request for dismissal under Rule 41 (a)(2) contains a

statement by Plaintiffs counsel that all parties have been contacted, and that none

oppose the dismissal request.

      The Joint Notice ofSettlement4 submitted by Nautilus, EMC, and Travelers

does not state whether Defendants Sentinel Insurance Company Limited and

Those Certain Underwriters of Lloyd's of London Subscribing to Various Policy

Numbers object to the dismissal of claims against Travelers.

      ORDERED:

      Nautilus, EMC, and Travelers may resubmit the Joint Notice of Settlement5

in proper form.
                     I)~
      DATED this_.,_ day of July, 2020.




                                              United States District Judge


      4
          Doc. 64.
      5
          Doc. 64.

                                        -2-
